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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION

   NUVASIVE, INC.,                                  )
                                                    )
                  Plaintiff,                        )
   v.                                               ) Civil Action File No. xx
                                                    )
   ABSOLUTE MEDICAL, LLC, GREG                      )
   SOUFLERIS, and DAVE HAWLEY,                      )
                                                    )
                  Defendants.                       )
                                                    )

                        DEFENDANT DAVE HAWLEY'S RESPONSES TO
                       PLAINTIFF'S FIRST SET OF INTERROGATORIES

          Pursuant to Rule 33 of the Federal Rules of Civil Procedure (the "Federal Rules"),

   DAVE HAWLEY ("Defendant") hereby responds and objects to the Request for

   Interrogatories dated April 12, 2018, served upon him by NUVASIVE, INC ("Plaintiff') (the

   "Request for Production"), as follows:

          Defendant has conducted a diligent search and reasonable inquiry in response to the

   Interrogatories. However, Defendant has not completed its investigation of the facts related to

   this case, has not completed discovery in this Action, and l:ias not completed its preparation for

   any trial that might be held herein. His responses and objections to the Interrogatories are based

   upon information currently known to Defendant and are given without prejudice to Defendant's

   right to revise, correct, supplement, add to, amend, or clarify his responses and/or objections to

   the Interrogatories when and if additional information or d?cumentation comes to his attention.

   Moreover, Defendant expressly reserves the right to make use of, or introduce at any hearing or

   trial, documents or facts not known to exist at the time of production, including, without

   limitation, documents obtained in the course of discovery in this Action.



                                                                                                  EXHIBIT

                                                                                            i           6
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           Defendant's Responses and Objections to the Interrogatories or his production of any

   documents shall not be construed as: (i) an admission as to the relevance, admissibility, or

   materiality of any such documents or their subject matter; (ii) a waiver or abridgment of any

   applicable privilege; or (iii) an agreement that requests for similar documents will be treated

   similarly.

           Further, Defendant reserves all of its rights, including its right to supplement, amend, or

   correct any of its Responses and Objections to the Interrogatories and his right to object to the

   admissibility of any part of any document produced in response to any Request or information

   contained in any such document.

                                         I.   GENERAL OBJECTIONS


           Without in any way limiting the Preliminary Statement set forth above, Defendant asserts

   the following general objections:

         1.        Defendant objects to the Interrogatories in its entirety to the extent that it is

   overbroad or purports to impose obligations upon it that exceed those set forth in Federal

   Rules 26, 34 and 45, the Case Management Order entered in this case, or any other

   applicable statute, rule, or order.

         2.        Defendant objects to the Interrogatories in its entirety to the extent that it

   purports to call for the disclosure of information, or the production of documents, that are

   subject to the attorney work product protection, the attorney-client privilege, or any other

   applicable privilege, including privileged information or documents shared with entities with

   which Defendant holds or held a common interest.

         3.        Defendant asserts such privileges and objects to the provision of information

   or production of any documents subject thereto. To the extent that any production of
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    documents or information is made, any inadvertent production of such privileged documents

   or information in response to the Interrogatories would not be intended to constitute a

   waiver of any applicable privilege or protection. Defendant ~emands that Plaintiff, its agents

    and attorneys notify Defendant's undersigned counsel of the production of any such

    documents immediately upon discovery of such documents, and return such documents to

    such undersigned counsel upon request.

          4.       Defendant objects to the Interrogatories in its. entirety to the extent it purports

   to call for the disclosure of information, or the production of documents, that are part of a

    category of documents subject to the attorney work product protection, the attorney-client

   . privilege, or any other applicable privilege, including privileged information or documents

    shared with parties for whom Defendant serves in an distribl,ltor capacity.

          5.       Defendant objects to the Interrogatories in its entirety to the extent that it

    purports to require the production of documents that are not in its possession, custody, or

    control.

          6.       No objection or limitation, or lack thereof, or statement that Defendant will

    produce documents made these Responses and Objections constitutes an admission as to the

    existence or nonexistence of documents or information by Defendant.

          7.        Defendant objects to the Interrogatories in its entirety to the extent that it is

    vague ambiguous confusing, and contrary to the plain meaning of the terns involved.

          8.       Defendant objects to the Interrogatories in its entirety to the extent that it

    purports to call for the disclosure of information, or the production of documents, that are

    subject to the terms of the Case Management Order.
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         9.       Defendant objects to the Interrogatories in its entirety to the extent that it is

   outside the scope of this action and has no relation to the claims and defenses raised in this

   litigation, and thus not proportional to the needs of the ease, or the production of such

   constitutes material protected from disclosure pursuant to the Case Management Order.

         10.        Defendant objects to the Interrogatories in its entirety to the extent entirety

   to the extent that it calls for the document-by-document identification within thirty days of

   service of the Interrogatories of those documents that are -protected by the attorney-client

   privilege, common interest privilege, and work product protection as seeking to impose

   obligations beyond the scope of Federal Rules 26, 34 and 45, and beyond the scope of the

   Case Management Order entered in this case. Given the number of documents subject to

   review by Defendant further objects on the grounds that such an instruction is unduly

   burdensome.

         11.        Defendant objects to the Interrogatories in its entirety to the extent that (a)

   the discovery sought by any Request is unreasonably cumulative or duplicative, or is

   obtainable from another source that is more convenient, less burdensome, or less

   expensive; (b) the requested documents were previously produced and are currently located

   in the Document Depository; (c) Plaintiff has obtained the material sought by any request

   or demand in any other proceeding or pursuant to any other means;(d) the documents are a

   matter of public record or could be obtained from Plaintiff or its counsel's files; or (e) the

   burden or expense of any demand outweighs its likely benefit.

         12.        Defendant objects to the Interrogatories in its entirety to the extent that it

   calls for information from Defendant in a capacity other than Defendant's capacity as
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   distributor, and/or seeks discovery as to the ordinary-course business relationships between

   any party and Defendant or any entity related to Defendant.

         13.        Defendant objects to the term "any and "all" as used throughout the

   Interrogatories as overly broad and unduly burdensome. Defendant will make a good faith,

   reasonable, and diligent effort to locate responsive documents and information consistent

   with any General or Specific Objections. In searching for documents and information,

   Defendant will conduct a thorough and reasonable search for its records kept in the ordinary

   course of business, where information, documents or other things responsive to this

   discovery are most likely to be found. Defendant has also sought information from those

   persons who are most likely to know of information or documents or other things responsive

   to the Interrogatories. To the extent the Interrogatories asks for more and seeks documents

   or information that is not reasonably accessible because they cannot be retrieved, or

   produced without undue burden or cost, such as backup tapes intended for disaster recovery,

   Defendant objects because the discovery is overly broad and unduly burdensome.

                                  ANSWERS AND OBJECTIONS


          1.    Please refer to Exhibit C to NuVasive's Complaint for Injunctive Relief and
   Damages and identify the "couple of things" you sent to Elizabeth Lukianov on or about
   December 12, 2017.
   RESPONSE:       Defendant shipped Alphatec Spine, Inc. ("Alphatec") instruments to
   Elizabeth Lukianov. Defendant does not recall specifically which Alphatec instruments
   were shipped to Ms. Lukianov on December 12, 2017. ,

           2.     Please identify all email addresses and telephone numbers you utilized between
   June 1, 2017, and the present.
   RESPONSE: Defendant objects to this request and as grounds asserts that Plaintiff seeks
   to discover documents that are irrelevant and outside the scope of this action and that have
   no relation to the claims and defenses raised in this litigation, and thus not proportional to
   the needs of the case. Notwithstanding said objections, Defendant utilized the following
   email addresses and phone number:                           ,
                      • dhawley@absolute-med.com
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                      •   dhawley@absolute-medical.org
                      •   (941) 650-8629

            3.     Please identify all physicians and/or medical facilities within your current sales
   territory. For each physician and medical facility you identify, please state:
                   (a)    All sales you have made to the physician or health care facility you have
            made since May 1, 2017; and
                   (b)    Whether you called on or serviced the physician or health care facility on
           NuVasive' s behalf in calendar years 2016 or 2017.
   RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
   vague, and ambiguous. Defendant further objects to this request and as grounds asserts
   that Plaintiff seeks to discover documents that are irrelevant and outside the scope of this
   action and that have no relation to the claims and defenses raised in this litigation, and thus
   not proportional to the needs of the case. Notwithstanding said objections, Defendant is no
   longer in possession of this information, rather Plaintiff has this information in its
   possession.

          4.      Have you ever shipped, mailed, or otherwise transferred surgical instruments to
   Alphatec that were not created by Alphatec? If so, please state:
                  (a)     The date you shipped, mailed, or' otherwise transferred the surgical
          instruments to Alphatec;
                  (b)     The types of surgical instruments that you shipped, mailed, or otherwise
          transferred to Alphatec; and
                  (c)     The manufacturer of the surgical instruments you shipped, mailed, or
          otherwise transferred to Alphatec.
   RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
   vague, and ambiguous. Defendant further objects to this request and as grounds asserts
   that Plaintiff seeks to discover documents that are irrelevant and outside the scope of this
   action and that have no relation to the claims and defenses raised in this litigation, and thus
   not proportional to the needs of the case. Specifically, Plaintiff is seeking whether
   Defendant has shipped any instruments to Alphatec that were not created by Alphatec and,
   thus, has not limited this interrogatory to the scope of this action, which is whether
   Defendant shipped NuVasive instruments to Alphatec. Whether Defendant ever shipped,
   mailed, or transferred non-NuVasive instruments is completely irrelevant and
   disproportional to the needs of the case. Notwithstanding said objections, Defendant has
   never shipped NuVasive instruments to Alphatec.

            5.     Please identify every surgeon in your Alphatec sales territory who is a party to a
    consulting, design, or other contractual relationship with Alphatec.
    RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
    vague, and ambiguous. Defendant further objects to this request and as grounds asserts
    that Plaintiff seeks to discover documents that are irrelevant and outside the scope of this
    action and that have no relation to the claims and defenses raised in this litigation, and thus
    not proportional to the needs of the case. Further, this interrogatory is more properly
    directed toward Alphatec and Defendant cannot answer this interrogatory on behalf of
    Alphatec.
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          6.      Please describe the first act you took for Alphatec's benefit by describing:
                  (a)    The date of the act; and
                  (b)    A detailed description of the act.
   RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
   vague, and ambiguous as it is unclear what Plaintiff means by the phrase "first act."
   Defendant further objects to this request and as grounds asserts that Plaintiff seeks to
   discover documents that are irrelevant and outside the scope of this action and that have no
   relation to the claims and defenses raised in this litigation, and thus not proportional to the
   needs of the case. Specifically, Plaintiff is only pursuing Defendant for conversion and an
   alleged violation of the Florida Deceptive and Unfair Trade Practices Act ("FDUTPA")
   based on an alleged conversion of NuVasive instruments. This interrogatory is completely
   irrelevant to the causes of action that Plaintiff is pursuing against Defendant. Further,
   Defendant is not subject to a non-compete agreement with either Absolute Medical, LLC or
   NuVasive. Notwithstanding said objections, Defendant made its first sale on behalf of
   Alphatec on December 5, 2017, after its employment with Absolute Medical, LLC
   terminated.


          7.      Please describe the last act you took for NuVasive's benefit by describing:
                  (a)    The date of the act; and
                  (b)    A detailed description of the act.
   RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
   vague, and ambiguous as it is unclear what Plaintiff means by the phrase "last act."
   Defendant further objects to this request and as grounds asserts that Plaintiff seeks to
   discover documents that are irrelevant and outside the scope of this action and that have no
   relation to the claims and defenses raised in this litigation, and thus not proportional to the
   needs of the case. Notwithstanding said objections, the last instrument that Defendant sold
   on behalf of NuVasive was on December 1, 2017.


          8.      Please identify all telephone numbers you used to conduct business in calendar
   years 2017 and 2018, and identify the provider of each number you identify.
   RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
   vague, and ambiguous. Defendant further objects to th.is request and as grounds asserts
   that Plaintiff seeks to discover documents that are irrelevant and outside the scope of this
   action and that have no relation to the claims and defenses raised in this litigation, and thus
   not proportional to the needs of the case. Specifically, this is overly broad as Plaintiff has
   not limited this request to business conducted on behalf of NuVasive. Notwithstanding said
   objections, Defendant utilized the following phone number: (941) 650-8629.
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           9.     Please identify all electronic devices you utilized in calendar years 2017 and
   2018, and state whether you still possess each device.
   RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
   vague, and ambiguous as Plaintiff is requesting "all electronic devices" that Defendant used
   in 2017 and 2018. Specifically, Plaintiff has not limited this request to electronic devices
   that Defendant used in connection with his work for Absolute Medical, LLC on behalf of
   NuVasive. Defendant further objects to this request and as grounds asserts that Plaintiff
   seeks to discover documents that are irrelevant and outside the scope of this action and that
   have no relation to the claims and defenses raised in this litigation, and thus not
   proportional to the needs of the case.

            10.    Please identify every contract you signed that contained non-competition or non-
   solicitation provisions by stating:
                   (a)     The company that required you to sign the contract;
                   (b)     The date or approximate date you signed the contract; and
                   (c)     A summary of the non-competition and/or non-solicitation provisions.
   RESPONSE: Defendant objects to this request as it is overly broad, unduly burdensome,
   vague, and ambiguous as Plaintiff is requesting "every contract" that Defendant has
   signed. Defendant further objects to this request and as grounds asserts that Plaintiff seeks
   to discover documents that are irrelevant and outside the scope of this action and that have
   no relation to the claims and defenses raised in this litigation, and thus not proportional to
   the needs of the case. Specifically, Plaintiff has not limited this discovery request in time or
   scope, nor has Plaintiff limited this request to information pertaining to NuVasive or
   Absolute Medical, LLC, and thus this request is overly broad, unduly burdensome, and
   irrelevant. Notwithstanding said objections, Defendant did not sign a non-compete
   agreement with Plaintiff or with Absolute Medical, LLC.

          11.     Please identify all custom instruments that Alphatec has created for Dr. Paul
   Sawin.
   RESPONSE: Defendant objects to this request and as grounds asserts that Plaintiff seeks
   to discover documents that are irrelevant and outside the scope of this action and that have
   no relation to the claims and defenses raised in this litigation, and thus not proportional to
   the needs of the case. Further, this interrogatory is more properly directed toward
   Alphatec and Defendant cannot answer this interrogatory on behalf of Alphatec.

            12.    Please identify all people or entities for whom you are contractually obligated to
   sell spinal hardware and/or related items by stating:
                   (a)    The name of the person or entity;
                   (b)    Whether the contract is oral or written;
                   (c)    The date you entered into the contract; and
                   (d)    Acts you have taken in furtherance of the contract.
   RESPONSE: Defendant objects to this request and as grounds asserts that Plaintiff seeks
   to discover documents that are irrelevant and outside the scope of this action and that have
   no relation to the claims and defenses raised in this litigation, and thus not proportional to
   the needs of the case. Notwithstanding said objections, Defendant is contractually
   obligated to sell spinal hardware for Alphatec.
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                                         YERIFICATION

                                       , hereby affirm that I have read the foregoing answers to




  Sworn to and subscribed before me,

  thisthe ~l dayof_        Mk{               '2018.
  Notuy Public
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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this 22nd day of May, 2018, I electronically served a true
    copy of the above to all counsel of record:

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